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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

STEVEN SLAUGHTER,                            *

       Plaintiff,                            *

v.                                           *       Civil Action No. 1:23-cv-02703-JEB

CATHOLIC UNIVERSITY OF                       *
AMERICA,
                                             *
       Defendant.
                                      *
       *       *    *   *     *       *    *    *    *  *  *
                DEFENDANT CATHOLIC UNIVERSITY OF AMERICA’S
                      RULE 26(a)(1) INITIAL DISCLOSURES

       Catholic University of America (“CUA”), by and through its undersigned attorneys, hereby

provides the following initial disclosures pursuant to Rule 26(a)(1)(A) based on all information

reasonably available to CUA as of the date of these disclosures:

I.     Rule 26(a)(1)(A)(i)

       1.      Kirk McLean
               Associate Vice President for Public Safety & Emergency Management
               262 Leahy Hall
               620 Michigan Avenue, N.E.
               Washington, D.C. 20064
               202-319-6064

       The subjects of discoverable information available from Mr. McLean include the overall

organization and operations of CUA’s Department of Public Safety, general policies and

procedures, Plaintiff’s employment and performance with CUA, the lack of any complaint by

Plaintiff of working unpaid overtime, and facts/defenses asserted by CUA in its pleadings.

       2.      Kim Gregory
               Associate Director of the Department of Public Safety
               262 Leahy Hall
               620 Michigan Avenue, N.E.
               Washington, D.C. 20064
               202-319-6064

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       The subjects of discoverable information available from Ms. Kim include the overall

organization and operations of CUA’s Department of Public Safety, general policies and

procedures, management of Department of Public Safety patrol operations, investigations, and

administration, the Collective Bargaining Agreement, time and overtime reporting procedures,

meal breaks and procedures for reporting meal break interruptions, Plaintiff’s employment and

performance with CUA, Plaintiff’s knowledge of and experience with time overtime reporting

procedures, Plaintiff’s role as a Union Shop Steward, CUA workweeks, shift officer scheduling,

the lack of any complaint by Plaintiff of working unpaid overtime, and facts/defenses asserted by

CUA in its pleadings.

       3.      Dorothy Swinson
               Administrative Assistant, Department of Public Safety
               262 Leahy Hall
               620 Michigan Avenue, N.E.
               Washington, D.C. 20064
               202-319-6064

       The subjects of discoverable information available from Ms. Swinson include the

Department of Public Safety’s time and payroll reporting policies and procedures, time and payroll

records and record keeping, time and overtime reporting procedures, Plaintiff’s employment with

CUA, Plaintiff’s knowledge of and experience with time overtime reporting, Plaintiff’s role as a

Union Shop Steward, CUA workweeks, shift officer scheduling, the lack of any complaint by

Plaintiff of working unpaid overtime, and facts/defenses asserted by CUA in its pleadings.

       4.      Antonio Coley
               Shift Supervisor, Department of Public Safety
               262 Leahy Hall
               620 Michigan Avenue, N.E.
               Washington, D.C. 20064
               202-319-6064




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       The subjects of discoverable information available from Mr. Coley include the Department

of Public Safety’s patrol operations, time and overtime reporting procedures, Plaintiff’s

employment and performance with CUA, Plaintiff’s knowledge of and experience with time

overtime reporting, Plaintiff’s role as a Union Shop Steward, CUA workweeks, shift officer

scheduling, the lack of any complaint by Plaintiff of working unpaid overtime, Plaintiff’s

application and/or interest in re-applying for employment as a CUA special police officer in 2023,

and facts/defenses asserted by CUA in its pleadings.

       5.      Steven Slaughter

       The subjects of discoverable information available from Mr. Slaughter are known to him

and include his employment with CUA, Department of Public Safety patrol operations, the

Collective Bargaining Agreement and his role as Union Shop Steward, meal breaks and procedures

for reporting meal break interruptions, time and overtime reporting procedures, his knowledge of

and experience with time and overtime reporting, the allegations in the Complaint, the First

Amended Complaint and the Second Amended Complaint, the allegations in his affidavit(s) and

discovery responses, and the facts/defenses set forth in CUA’s pleadings.

II.    Rule 26(a)(1)(A)(ii)

       CUA is producing copies of all documents known to CUA at this time in its possession,

custody, or control which CUA may use to refute Plaintiff’s claims and support CUA’s defenses,

unless the use would be solely for impeachment.

III.   Rule 26(a)(1)(A)(iii)

       CUA is not asserting any claims for damages at this time.

IV.    Rule 26(a)(1)(A)(iv)




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       CUA is not aware at this time of any insurance agreement under which an insurance

business may be liable to satisfy all or part of any possible judgment in this action or to indemnify

or reimburse for payments made to satisfy any such judgment.

V.     Additional Statements

       CUA reserves the right to and will supplement these initial disclosures as necessary and

appropriate.

                                              Respectfully submitted,


Dated: July 15, 2024                                 /s/ Michael J. Marinello
                                              Michael J. Marinello (D.C. Bar No. 1008933)
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                                              Counsel for Defendant, The Catholic University of
                                              America




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2024, I filed the foregoing using the Clerk’s CM/ECF

system, which will provide notice to all counsel of record.



                                                   /s/ Veronica J. Mina
                                             Veronica J. Mina (D.C. Bar No. 90010619)




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